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                                                   HONORABLE JAMES L. ROBART
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                       IN THE UNITED STATES DISTRICT COURT
10                   FOR THE WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
11
     MICROSOFT CORPORATION,
12                                          No. C10-1823-JLR
                       Plaintiff,
13         v.
                                            MICROSOFT’S OPPOSITION TO
14
     MOTOROLA INC., et al.,                 DEFENDANTS’ MOTION FOR
15                                          SUMMARY JUDGMENT
                              Defendant.
16                                          Noted: July 31, 2013 at 10:00 AM
     MOTOROLA MOBILITY, LLC., et al.,
17
                              Plaintiffs,   ORAL ARGUMENT REQUESTED
18         v.
19   MICROSOFT CORPORATION,
20
                              Defendant.
21

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     MICROSOFT’S OPPOSITION TO                                             LAW OFFICES
     DEFENDANTS’ MOTION FOR SUMMARY                        CALFO HARRIGAN LEYH & EAKES LLP
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 1                                          INTRODUCTION

 2          Motorola urges scattered arguments targeting selected issues and evidence it hopes to

 3   eliminate from the trial. For example, Motorola would prefer that the jury not consider

 4   Motorola’s relentless pursuit of injunctions in derogation of its RAND licensing

 5   commitments—conduct which already incurred two injunctions from this Court, and antitrust

 6   scrutiny from the FTC and the European Commission. But Microsoft has provided ample legal

 7   and factual support for its breach theories premised on Motorola’s lawsuits on its SEPs.

 8   Motorola’s flawed argument that the Noerr-Pennington doctrine bars these theories was

 9   already properly rejected by Judge Crabb in the Western District of Wisconsin, where

10   Motorola first advanced it, a holding that Motorola conspicuously neglects to mention.

11          Motorola’s invocation of the default American fee-shifting rule to cut back Microsoft’s

12   damages claim is also misguided: The rule is irrelevant where the fees sought were incurred in

13   other actions, and the portion of fees sought that were incurred here are subject to a specific

14   exception. Motorola’s argument, if accepted, would amount to immunity for SEP holders for

15   withholding RAND licenses and instead attempting to enjoin standard implementers. Motorola

16   would also prefer that the jury not hear how it treated Marvell, or its evasion of the grant-back

17   obligations of the Google-MPEG LA license, but the Court has already ruled that Microsoft

18   can argue that these instances of conduct support its overall theory of breach, and they will be

19   part of the trial. Motorola’s summary judgment motion should be denied in its entirety.

20                                            ARGUMENT

21     I.   MOTOROLA’S MOTION FOR SUMMARY JUDGMENT ON MICROSOFT’S
            BREACH THEORIES STEMMING FROM MOTOROLA’S PURSUIT OF
22          INJUNCTIONS SHOULD BE DENIED.
23          A. Motorola’s Lawsuits And Pursuit Of Injunctions On Standard-Essential
               Patents Breached The Duty Of Good Faith And Fair Dealing.
24
            Motorola’s pursuit of injunctions was a key part of its strategy to hold up Microsoft in
25
     frustration of the purposes of the RAND licensing commitment, and each act in pursuit of that
26
     MICROSOFT’S OPPOSITION TO DEFENDANTS’                                               LAW OFFICES
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 1   strategy—as well as the whole course of conduct—breached the duty of good faith and fair

 2   dealing. (See Dkt. No. 729 at 18–21.) Motorola led off its hold up strategy with sham “offers”

 3   that could not be accepted, setting up its claim that Microsoft had no license, which would

 4   enable pursuit of injunctions shutting Microsoft’s standard-compliant products out of the

 5   market, in turn creating leverage designed to extract crippling concessions from Microsoft.

 6   Along the way, Motorola rebuffed Marvell, and ignored the grant back obligation arising from

 7   the Google-MPEG LA agreement, as either would have undermined its leverage.

 8          Motorola tries to brush off this claim, arguing it reflects a “free floating” notion of the

 9   duty of good faith and fair dealing that would inject new substantive terms into the contract.

10   (See Dkt. No. 733, Defs.’ Mot. for Summary J. (“Moto. Br.”) 9.) If Motorola were correct, a

11   breach of the duty of good faith and fair dealing would arise only if a party directly breaches

12   other contractual obligations, rendering the implied duty superfluous. In the RAND licensing

13   setting, seeking injunctions—especially by arguing the absence of a license following sham

14   offers—breaches the duty of good faith and fair dealing regardless of whether the contract

15   contains an explicit provision barring injunctive relief.

16          Conduct frustrating a contract’s purpose breaches the duty of good faith and fair

17   dealing. (See Dkt. 715 at 8–11.) The Court has already found that a purpose of Motorola’s

18   contracts was to prevent hold up. (FFCL ¶¶ 55– 60, 71, 74, 538.) That finding is a verity, it is

19   not “free floating,” nor did it inject new contractual terms—it is tied to Motorola’s promise to

20   license any implementer and to the purposes of SSOs, and was supported by extensive expert

21   testimony, including that of Motorola’s own expert. (FFCL ¶¶ 60, 74.) Motorola frustrated

22   this purpose of the RAND licensing commitment by filing lawsuits on its SEPs (after leading

23   off with its sham offers) and by seeking injunctions, breaching the duty of good faith and fair

24   dealing. Motorola’s motion can be denied on this basis alone.

25

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     MICROSOFT’S OPPOSITION TO DEFENDANTS’                                               LAW OFFICES
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 1          In any event, Motorola’s approach of slicing its conduct into individual, discrete acts,

 2   attempting to find a justification for each, is no defense to Microsoft’s claim that Motorola’s

 3   course of conduct constituted a breach. The duty of good faith and fair dealing is not satisfied

 4   by arguing that a series of acts might be justifiable if viewed in isolation. Rather, the purpose

 5   of the duty of good faith is to prevent “evasion of the spirit of the bargain,” Restatement

 6   (Second) of Contracts § 205 cmt. d, and to enforce “faithfulness to an agreed common purpose

 7   and consistency with the justified expectations of the other party,” Frank Coluccio Constr. Co.,

 8   Inc. v. King County, 150 P.3d 1147, 1155 (Wash. App. 2007) (finding breach of the duty where

 9   one party deprived the other of contractual benefits by making a false representation, failing to

10   make certain adjustments, and colluding with a third party). Faithfulness, consistency, and

11   evasion cannot be fully evaluated by examining isolated acts and ignoring their context.

12          B. Even Apart From Its Duty Of Good Faith, Motorola Breached Its Express
               RAND Licensing Commitments By Seeking Injunctions Against Microsoft’s
13
               Implementation Of The Standards.
14          Motorola’s RAND licensing commitments expressly require that it make available
15   RAND licenses to any standard implementer. This commitment means that Motorola will not
16   pursue injunctions against implementers. That obligation is within the four corners of the
17   RAND licensing contracts, independent of the duty of good faith and fair dealing. Motorola’s
18   protestations that no “particular provision in the contract” bars seeking injunctions, Moto. Br.
19   8–9, reflects a refusal to recognize the duties that directly and necessarily follow from its
20   promise to grant licenses to anyone. Motorola’s recitation of its original statutory rights as a
21   patent holder, Moto. Br. 8, misses the point: Motorola surrendered statutory rights in order to
22   gain a foothold in the standard. Had it not made the RAND licensing commitment, Motorola
23   could attempt to exclude every party that allegedly used Motorola’s patented technology. But
24   when it participated in the SSOs’ formation of these standards, and made its contractual RAND
25

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     MICROSOFT’S OPPOSITION TO DEFENDANTS’                                               LAW OFFICES
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 1   licensing commitments, Motorola promised it would do just the opposite—it promised that it

 2   would exclude no one, and would make licenses available to every standard implementer.

 3          While a patent grant gives a patent holder “the right to exclude others from making,

 4   using, . . . or selling the invention,” 35 U.S.C. § 154, the right to exclude can be waived by

 5   contract. See Mallinckrodt, Inc. v. Medipart, Inc., 976 F.2d 700, 703 (Fed. Cir. 1992) (“This

 6   right to exclude may be waived in whole or in part. The conditions of such waiver are subject

 7   to patent, contract, antitrust, and any other applicable law, as well as equitable considerations

 8   such as are reflected in the law of patent misuse.”). See also Morrow v. Microsoft Corp., 499

 9   F.3d 1332, 1342 (Fed. Cir. 2007) (“[I]mplicit in the right to exclude is the right to waive that

10   right.”). A patent license is one example of such a waiver. Morrow, 499 F.3d at 1342. A

11   RAND licensing commitment is simply another example. It is hard to imagine a clearer waiver

12   of the right to exclude than a contractual promise to grant licenses (i.e., forego exclusion) on

13   reasonable and non-discriminatory terms to anyone who wants to make use of the technology.

14          The Ninth Circuit, in affirming the Court’s preliminary injunction, recognized that

15   Motorola’s RAND licensing commitments were not consistent with pursuing injunctions:

16          This language [of the RAND licensing commitment] admits of no limitations as
            to who or how many applicants could receive a license (“unrestricted number of
17          applicants”) or as to which country’s patents would be included (“worldwide,”
            “the patented material necessary”). Implicit in such a sweeping promise is, at
18          least arguably, a guarantee that the patent-holder will not take steps to keep
            would-be users from using the patented material, such as seeking an injunction,
19
            but will instead proffer licenses consistent with the commitment made.
20   Microsoft Corp. v. Motorola, Inc., 696 F.3d 872, 884 (9th Cir. 2012) (emphasis added). Where
21   the patent holder has demanded royalties far in excess of RAND, and then predicates a claim
22   for injunctive relief on the absence of a license, the “arguable” nature of this inconsistency
23   vanishes and is replaced by a certainty. See id. at 885 (“[I]t could well be that retrospective
24   payment at the rate ultimately determined and a determination of the future rate, not an
25

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     MICROSOFT’S OPPOSITION TO DEFENDANTS’                                               LAW OFFICES
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 1   injunction banning sales while that rate is determined, is the only remedy consistent with the

 2   contractual commitment to license users of [ ] standard-essential patents.”).

 3           Judge Posner agrees that RAND licensing commitments must be understood to waive

 4   injunctive relief. See Apple, Inc. v. Motorola, Inc., 869 F. Supp. 2d 901, 913–14 (N.D. Ill.

 5   2012) (endorsing the FTC’s position that “injunctive relief is indeed unavailable for

 6   infringement of a patent governed by FRAND” and holding “I don’t see how, given FRAND, I

 7   would be justified in enjoining Apple . . . unless Apple refuses to pay a royalty that meets the

 8   FRAND requirement.”). See also Ex. 1, Herbert Hovenkamp, “Competition in Information

 9   Technologies,” U. of Iowa Legal Studies Research Paper No. 12-32 (Oct. 2012), at MS-

10   MOTO_1823_00005246577 (“Permitting the owner of a FRAND-encumbered patent to have

11   an injunction against someone willing to pay FRAND royalties is tantamount to making the

12   patent holder the dictator of the royalties, which once again is the same thing as no FRAND

13   commitment at all.”); 1 Ex. 2, Joseph Farrell et al., “Standard setting, patents, and hold-up,” 74

14   Antitrust L. J. 603, 638 (2007), at MOTM_WASH1823_0492624 (“[A] patent holder that has

15   made a commitment to license on a FRAND basis should not be able to get (or threaten) an

16   injunction against use of the technology to comply with the standard.”).

17           With guidance from this Court’s prior rulings, the Ninth Circuit opinion, and Judge

18   Posner’s ruling, the Northern District of California recently granted summary judgment against

19   a standard-essential patent holder found to have breached its RAND licensing commitment to

20   the IEEE by seeking an exclusion order in the ITC:

21           [D]efendants are contractually obligated under their Letters of Assurance to the
             IEEE to license the ’958 and ’867 patents on RAND terms and Realtek is a
22           third-party beneficiary to that contract (this is not disputed). Also, like in
             Motorola, the act of seeking injunctive relief (here, at the ITC before proposing
23           a RAND license to Realtek) is inherently inconsistent and a breach of
             defendants’ promise to license the patents on RAND terms.
24

25     1
        Exhibits are attached to the Declaration of Christopher Wion in Support of Microsoft’s Opposition to
     Defendants’ Motion for Summary Judgment, filed concurrently with this motion.
26
     MICROSOFT’S OPPOSITION TO DEFENDANTS’                                                         LAW OFFICES
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 1   Realtek Semiconductor Corp. v. LSI Corp., No. C–12–03451–RMW, 2013 WL 2181717, at *6

 2   (N.D. Cal. May 20, 2013). 2 To be sure, the Northern District noted (referring to this case) that

 3   the patent holder’s conduct in Realtek of “bringing the ITC action before offering a license[ ] is

 4   even more glaringly inconsistent with its RAND obligations than Motorola’s request for an

 5   injunction at the district court after offering a license to Microsoft in the Motorola case,” id.,

 6   but in light of this Court’s findings, Motorola’s letters were not RAND offers. Even if

 7   Motorola’s October 2010 letter had reflected a genuine “attempt to offer a license” on RAND

 8   terms (a claim this Court’s rulings negate), Motorola’s immediate pursuit of injunctions

 9   afterwards was “a clear attempt to gain leverage in future licensing negotiations and is

10   improper,” id. at *7, as this Court already recognized. (See Dkt. No. 318 at 24.) Accordingly,

11   like the breaching defendant in Realtek, Motorola’s pursuit of injunctions prior to offering a

12   RAND license breached its RAND licensing commitments.

13           In fact, in a separate ITC proceeding brought by Microsoft, Motorola claimed

14   Microsoft was asserting patents that were subject to a RAND commitment, and argued the

15   exact breach of contract theory adopted by the Realtek court:

16           [Motorola] Mobility has been materially prejudiced by Microsoft’s breach of its
             obligations in that Microsoft, without making any offer to license the ‘517 and
17           ‘352 patents, let alone a RAND offer, has sued [Motorola] Mobility in the ITC
             seeking an exclusion order against products allegedly covered by these patents
18           that comply with the SDA specifications.
19   Ex. 5, Motorola ITC Responses at MOTM_WASH1823_0399256–7. As Microsoft explained
20   previously, Motorola had not yet taken steps that were necessary under the particular SSO’s
21   rules to establish its eligibility for a RAND license, but once Motorola did so, Microsoft
22
       2
23       Motorola provides a section of its brief entitled “No Other Courts or Administrative Bodies Have Prohibited
     SEP Holders From Seeking Injunctions.” Moto. Br. 9 (emphasis added). The Realtek decision drew significant
     attention from those focused on SEP issues. Indeed, in representing Samsung (another party seeking injunctions
24   on standard-essential patents), on May 28, 2013, Motorola’s counsel here filed a response to Apple’s
     supplemental authority submission of the Realtek decision to the ITC, and argued Realtek did not counsel against
25   granting Samsung an exclusion order against Apple’s standard-compliant products. See Ex. 4 (Samsung
     Response) at 2, 5.
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     MICROSOFT’S OPPOSITION TO DEFENDANTS’                                                         LAW OFFICES
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 1   promptly withdrew its claims in the ITC. (See Dkt. No. 269 at 4–5.) Regardless, Motorola’s

 2   position was clear: a patent holder breaches its RAND licensing commitment by seeking

 3   injunctions against standard implementers, especially when it never made a RAND offer.

 4          The public interest also supports this construction. “In choosing among the reasonable

 5   meanings of a promise or agreement or a term thereof, a meaning that serves the public interest

 6   is generally preferred.” Restatement (Second) of Contracts § 207. Regulatory agencies on two

 7   continents have declared that Motorola’s insistence on seeking injunctions on SEPs both harms

 8   the public interest and likely violated the unfair competition and antitrust laws. The Federal

 9   Trade Commission entered into a Proposed Consent Order in January 2013 to settle allegations

10   concerning Motorola’s pursuit of injunctions on its standard-essential patents (see Ex. 3, FTC-

11   Google Consent Order at MOTM_WASH1823_0620222–50), and in its “Analysis of Proposed

12   Consent Order to Aid Public Comment,” described the basis of the FTC’s complaint against

13   Google and Motorola:

14          Relying on Motorola’s promise to license its SEPs on FRAND terms, electronic
            device manufacturers implemented the relevant standards and were locked-in to
15          using Motorola’s patents. Motorola then violated the FRAND commitments
            made to ETSI, ITU, and IEEE by seeking, or threatening, to enjoin certain
16          competitors from marketing and selling products compliant with the relevant
            standards, like the iPhone and the Xbox, from the market unless the competitor
17
            paid higher royalty rates or made other concessions.
18   Ex. 6 at MOTM_WASH1823_0620216; see also id. at MOTM_WASH1823_0620216–17
19   (describing harms to consumers stemming from Motorola’s pursuit of injunctions on SEPs).
20   Similarly, in the context of an investigation of Motorola’s pursuit of injunctions on standard-
21   essential patents against Apple, the European Commission
22          reached the preliminary conclusion that the seeking and enforcing of an
            injunction for SEPs can constitute an abuse of a dominant position in the
23          exceptional circumstances of this case - where the holder of a SEP has given a
            commitment to license these patents on FRAND terms and where the company
24
            against which an injunction is sought has shown to be willing to enter into a
25          FRAND licence.

26
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 1   Ex. 7, European Commission Memo at MS-MOTO_1823_00005258272.

 2          If Motorola’s view were accepted, as long as it asserted it was willing to “negotiate,” it

 3   could file lawsuits seeking injunctions against every implementer of the 802.11 or H.264

 4   standards; it could obtain those injunctions; it could actually exclude all implementers from the

 5   market for standard-compliant products; and it could use the leverage of these proceedings to

 6   extract non-RAND royalties or any other concessions it wished. Motorola could simply claim

 7   the market for 802.11 and H.264 standard compliant products entirely for itself, while arguing

 8   that it was complying with its RAND licensing commitments by continuing to conduct

 9   complex licensing negotiations with all former implementers of the standards. Motorola’s

10   position that it can freely enjoin standard-implementers is impossible to reconcile with the

11   RAND licensing commitment—especially where it is clear that the licensing offers it made far

12   exceeded RAND—and must be rejected.

13          C. Motorola’s Carefully-Selected Citations And Timing Arguments Fail To
               Support Its Position.
14
            Motorola cites instances in which some courts, or the ITC, have suggested that
15
     injunctions may still be available to SEP holders in certain circumstances (see Moto. Br. 9–12),
16
     but the evidentiary record in these cases bears no resemblance to this case and does not apply
17
     to Motorola’s conduct here. In contrast, Motorola conspicuously omits reference to the FTC
18
     and European Commission statements condemning Motorola’s pursuit of injunctions on
19
     standard-essential patents, including as against Microsoft. See Section I.B, supra.
20
            In Apple, Inc. v. Motorola Mobility, Inc., No. 11-cv-178, 2012 WL 5416941 (W.D.
21
     Wis. Oct. 29, 2012), in the context of denying an Apple motion in limine, Judge Crabb found
22
     that Apple had presented insufficient evidence of the intent and purpose of Motorola’s RAND
23
     licensing commitments to the IEEE and ETSI (an SSO involved in cellular standards not at
24
     issue here), and, applying Wisconsin law, declined to infer that pursuit of injunctive relief was
25
     barred. Id. at *15. But Judge Crabb had not heard the overwhelming evidence presented to
26
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 1   this Court of the severe consequences of permitting injunctions on SEPs, nor did Judge Crabb

 2   have the benefit of the full scope of evidence concerning the nature of the RAND licensing

 3   commitment as was presented by the parties to this Court. For example, because the ITU was

 4   not at issue in that case, Judge Crabb never considered that SSO’s clear statement that the “sole

 5   objective” of its Patent Policy is to ensure that any patent essential to the H.264 standard “be

 6   accessible to everybody without undue constraints” (FFCL¶ 27)—pursuing injunctions against

 7   standard implementers is irreconcilable with that policy. Judge Crabb’s motion in limine

 8   ruling is not only inapplicable to this record, it is inconsistent with the Realtek summary

 9   judgment ruling, where that court was squarely presented with the breach issue.

10            The only contingency Judge Posner included in his statement that standard-essential

11   patent holders could not obtain injunctions was the possibility that the standard implementer

12   refused to pay a RAND royalty. See 869 F. Supp. 2d at 914. But Motorola never came

13   remotely close to offering one, and has not asserted that Microsoft has refused to pay one. And

14   Microsoft filed this action to enforce Motorola’s RAND licensing commitments before

15   Motorola filed its lawsuits seeking injunctions on its standard-essential patents. Motorola’s

16   references to statements of the DOJ and the USPTO have no bearing for the same reasons—

17   Motorola has not claimed (and cannot claim) that Microsoft “is unable or refuses to take” a

18   RAND license. Moto. Br. 11. In fact, as the Court has recognized, Microsoft has committed

19   to do so; the Court has now set the royalty; but no license has been offered by Motorola.

20            For the same reason, the ITC decision to which Motorola points fails to support its

21   argument: it involved an exclusion order to Samsung on standard-essential patents asserted

22   against Apple, but suggests only that the ITC is willing to issue exclusion orders against “an

23   unwilling licensee.” Moto. Br. 10. 3 In fact, in Motorola’s own ITC action, the ALJ found “no

24     3
         Motorola filed the public version of this opinion as “supplemental authority” after 5 PM on July 11, the day
     before Microsoft’s opposition was due, but six days after the opinion became available. It provides even less
25   support than did Motorola’s earlier characterization, as the decision apparently turned on redacted, confidential
     evidence (see Dkt. No. 738 at 56–62) and a notion of “reverse hold-up” (id. at 63) that is absent from this case.
26
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 1   evidence that any company would agree to the offer that Motorola sent to Microsoft” and that

 2   “the evidence supports Microsoft’s conclusion that Motorola was not interested in good faith

 3   negotiations and in extending a RAND license to it.” (Dkt. No. 309 Ex. 1 at 300–03.)

 4   Motorola later withdrew assertion of all of its SEPs in the ITC, presumably because the Federal

 5   Trade Commission required it to do so as part of the Google consent order (see Ex. 6 at

 6   MOTM_WASH1823_0620220 (“The Proposed Consent Order further prohibits Google and

 7   Motorola from continuing or enforcing existing claims for injunctive relief based on FRAND-

 8   encumbered SEPs.”), and because this Court had enjoined Motorola from seeking injunctions

 9   against Microsoft, based on the circumstances of this case. (Dkt. No. 607, Nov. 29, 2012

10   Order at 18.) The Samsung-Apple ITC decision is irrelevant.

11           Motorola also attempts a confused timing argument: at the time Motorola filed its

12   suits, “the availability of injunctive relief for SEP infringement was an open issue,” and it was

13   also “an open issue as to whether Microsoft had repudiated its rights under the purported

14   contracts.” Moto. Br. 11. This argument fails. What matters is the proper legal interpretation

15   of the RAND licensing commitment, not whether Motorola subjectively understood that

16   interpretation, or when it came to that understanding. Accordingly, the timing of statements

17   made by other courts, administrative bodies, or by Microsoft is irrelevant—either they rest on a

18   proper understanding of the RAND licensing commitment and apply to Motorola’s conduct, in

19   which case they inform the relevant inquiry—or they do not. 4

20           The timing of the Court’s summary judgment ruling rejecting Motorola’s repudiation

21   argument, see Moto Br. 11–12, is also irrelevant. The Court’s ruling correctly stated the law; it

22
       4
23       Microsoft’s February 23, 2011 Amended Complaint alleged that Motorola breached its RAND licensing
     commitments by filing lawsuits seeking injunctions on SEPs. (Dkt. No. 53 ¶ 85.) Motorola’s rehashing of
     Microsoft’s letter to the FTC in June 2011, see Moto. Br. 12, is completely irrelevant to the question of whether
24   Motorola breached: Microsoft’s June 2011 state of mind does not control the legal question of whether
     Motorola’s RAND licensing commitments bar it from seeking injunctions on SEPs. Moreover, Microsoft clearly
25   did not “agree” that Motorola was free to seek injunctions—it had amended its complaint to allege that Motorola
     had breached its contractual commitments by doing so.
26
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 1   did not invent it. The Court ruled that Microsoft did not repudiate its rights by filing this suit,

 2   which meant that Motorola filed its suits in the face of its enforceable RAND licensing

 3   commitments. Motorola’s repudiation argument was not a defense to breach of contract—

 4   Motorola’s earlier hope that the argument might succeed cannot resurrect this dead defense.

 5          D. The Record Clearly Establishes Attorney-Fee Damages Stemming From
               Motorola’s Breaches.
 6
            Motorola’s claim that there is no “evidence that Motorola’s seeking injunctive relief
 7
     proximately caused the attorney-fee damages Microsoft seeks to recover,” Moto. Br. 13, fails
 8
     by logic and under the evidence. Motorola filed a series of lawsuits, all seeking to enjoin
 9
     Microsoft’s standard-compliant products. In direct response, Microsoft incurred fees
10
     defending itself from those suits. Microsoft can recover for “foreseeable” losses that follow
11
     from a breach “in the ordinary course of events.” Washington Pattern Jury Instruction § 13-
12
     303.01 (Measure of Expectation Damages—Breach of Contract). Motorola could not plausibly
13
     contend it was unforeseeable that (as a direct result of this breach) Microsoft would, “in the
14
     ordinary course of events,” defend itself in these suits rather than simply allow Motorola to
15
     obtain the injunctions and other relief it sought.
16
            Motorola instead nonsensically asserts that “Microsoft would have had to defend
17
     against Microsoft’s patent infringement claims even if Motorola only sought monetary relief,”
18
     Moto. Br. 13. First of all, there is no monetary relief in the ITC: the only remedies are
19
     exclusionary. The majority of the attorneys’ fees and costs Microsoft seeks to recover are from
20
     the ITC action. (Dkt. No. 723 Ex. A (Menenberg Rpt.) at 7 & Ex. 5 (showing that less than
21
     one-third of the fees Microsoft seeks to recover come from the other actions).) Additional fees
22
     were incurred in the 1823 action related to Microsoft’s anti-suit injunction efforts, which were
23
     solely targeted at Motorola’s enforcement of a German injunction. (Id. at 19 & Ex. 5.) Either
24
     category of damages immediately disposes of Motorola’s argument that “Microsoft lacks
25
     evidence that it incurred attorney fees and litigation costs as a result of Motorola seeking
26
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 1   injunctive relief.” Moto. Br. 13. Further, Microsoft’s fees incurred developing

 2   noninfringement and invalidity defenses are also recoverable on the same theory, as they

 3   would have been complete bars to such injunctions. There was no significant isolated work on

 4   damages in the transferred and consolidated patent case involving H.264 patents. (See Dkt.

 5   Nos. 167, 360.) Finally, if Motorola had only sought monetary relief to which it is entitled—a

 6   RAND royalty—it would have obtained that relief in this case. None of the lawsuits in the

 7   ITC, U.S. district courts, or Germany would have been necessary at all. It is only because

 8   Motorola sought more than a RAND royalty that it proceeded with those actions, and sought

 9   the leverage of injunctions.

10          Finally, Motorola complains that Microsoft’s expert did not provide separate

11   calculations for damages incurred solely as a result of Motorola’s assertion of H.264 SEPs, as

12   distinct from damages incurred solely as a result of Motorola’s assertion of 802.11 SEPs. See

13   Moto. Br. at 13. The argument is based on a mistaken premise, because certain damages—fees

14   incurred defending Motorola’s German action, and fees connected with the anti-suit injunction

15   in this Court—are exclusively associated with Motorola’s assertion of H.264 standard-essential

16   patents, and Microsoft’s expert calculated separate totals for those matters. (See Dkt. No. 723

17   Ex. A (Menenberg Rpt.) at 19 & Ex. 5.) Further, while the overall fees associated with the ITC

18   action stem from Motorola’s assertion of both 802.11 and H.264 patents, segregation of those

19   would be relevant only if the jury found a breach as to only a single standard—and Microsoft’s

20   fact witness associated with the fees incurred, David Killough, is fully capable of classifying

21   individual time entries as being associated with Motorola’s assertion of the 802.11 or H.264

22   patents in the ITC, based on information provided such as identity of the attorney and

23   description of the work performed. See Declaration of David Killough. Motorola’s position

24   reduces to a baseless attempt to preclude Microsoft from proving, through fact testimony, any

25   factual conclusions that an expert did not opine on, should it prove necessary to do so.

26
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 1           At most, Motorola’s argument suggests that the jury may have a more complicated task

 2   in calculating a damages award if it finds that Motorola breached its RAND licensing

 3   commitments to IEEE, but not to the ITU—despite Motorola’s having sought injunctions on

 4   patents essential to both standards, and Motorola’s October 2010 demands as to H.264

 5   exceeding the RAND royalty by an even wider margin than did its 802.11 demands. The

 6   remote possibility of a mildly challenging task for the jury cannot provide a basis for granting

 7   Motorola summary judgment. See Long v. T-H Trucking Co., 486 P.2d 300, 303 (Wash. App.

 8   1971) (“[W]here the amount of damage is not susceptible of exact apportionment between the

 9   defendant’s fault and other factors contributing to the loss, absolute certainty is not required.”)

10    II.    THE NOERR-PENNINGTON DOCTRINE DOES NOT IMMUNIZE
             MOTOROLA FROM BREACH OF CONTRACT LIABILITY.
11
             The Noerr-Pennington doctrine does not immunize Motorola from breach of contract
12
     liability for filing infringement suits on its SEPs and seeking injunctions. Judge Crabb
13
     properly rejected that argument with respect to Apple’s breach of contract claim against
14
     Motorola, premised in part on the RAND licensing commitments to the IEEE at issue here:
15
             Motorola has cited no authority for the proposition that the Noerr-Pennington
16           doctrine should apply to Apple’s breach of contract claims . . . and I conclude
             that applying immunity to Motorola from Apple’s breach of contract claims is
17           not appropriate. Although the First Amendment protects Motorola’s right to
             petition the courts to enforce its patents, Apple’s breach of contract claims are
18
             based on the theory that Motorola agreed by contract that it would not enforce
19           its patent rights until it offered a license to Apple on fair, reasonable and
             nondiscriminatory terms. In other words, Apple contends that Motorola waived
20           some of its petitioning rights through contract. It would be improper to use the
             Noerr-Pennington doctrine to bar Apple from enforcing that contract.
21
     Apple, Inc. v. Motorola Mobility, Inc., 886 F. Supp. 2d 1061, 1078 (W.D. Wis. 2012)
22
     (emphasis added). Motorola’s brief quotes the earlier portion of Judge Crabb’s opinion—
23
     finding that Noerr-Pennington barred Apple’s antitrust claims—but misleadingly suggests that
24
     language applies to breach of contract claims, and omits her actual ruling on that issue. See
25
     Moto. Br. 21. Judge Crabb held that Apple’s breach of contract claims were not barred by
26
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 1   Noerr-Pennington, in response the same argument Motorola advances here. Compare Ex. 8

 2   (Moto. W.D. Wis. Br.) at MOTM-WASH1823_0492477–80, –97 with Moto. Br. 18–21, 26.

 3          As Judge Crabb noted, Motorola provided no authority for its claim that the Noerr-

 4   Pennington doctrine applies to breach of contract claims in its Western District of Wisconsin

 5   brief, and it fails to do so here as well. See Moto. Br. 18–21. To the contrary, as numerous

 6   courts have recognized, Noerr-Pennington does not apply, for the unremarkable reason that

 7   parties may waive or limit their petitioning rights by contract. See Apple, 886 F. Supp. 2d at

 8   1078; Powertech Tech., Inc. v. Tessera, Inc., 872 F. Supp. 2d 924, 932 (N.D. Cal. 2012) (“[T]o

 9   the extent that Tessera has waived [petitioning] rights through contract, the Noerr–Pennington

10   doctrine does not shield Tessera from liability for failing to comply with that contract.”). See

11   also ClearPlay, Inc. v. Nissim Corp., No. 07-81170-CIV, 2011 WL 6724156, at *10 (S.D. Fla.

12   Dec. 21, 2011) (patent holder would not be shielded by Noerr-Pennington “to the extent [it]

13   waived its patent rights within a contract and then sought to exercise such rights in breach of

14   such contract.”); Spear Pharms., Inc. v. William Blair & Co., LLC, 610 F. Supp. 2d 278, 288

15   (D. Del. 2009) (rejecting Noerr-Pennington defense where defendant had breached an NDA by

16   disclosing information to a government agency, because defendant was not “relieved from

17   liability for these claims merely because they then used a petition to a government agency as

18   the mechanism for allegedly harming Plaintiffs.”); Bores v. Domino’s Pizza LLC, No. 05-2498,

19   2008 WL 4755834, at *4 (D. Minn. Oct. 27, 2008) (rejecting argument that Noerr-Pennington

20   barred enforcement of an attorneys’ fees provision in a contract as that penalty “would not

21   implicate Plaintiffs’ First Amendment rights because they contractually agreed to pay such a

22   penalty in the event of litigation. In other words, Plaintiffs bargained away any protection

23   Noerr–Pennington may have offered them”). Cf. In re Innovatio IP Ventures, LLC Patent Lit.,

24   No. 11 C 9308, 2013 WL 427167, at *16 & n. 17 (N.D. Ill. Feb. 4, 2013) (finding RICO claims

25   against SEP holder barred by Noerr-Pennington, but denying motion to dismiss RAND breach

26
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 1   of contract claims and noting, with citation to Judge Crabb’s ruling, that the parties did not

 2   dispute that Noerr-Pennington was inapplicable to breach of contract claims).

 3            Even if Noerr-Pennington applied (and it does not), Motorola fails to show that no

 4   material dispute exists as to whether its conduct could be subject to the “sham litigation”

 5   exception because its patent infringement lawsuits were “objectively baseless.” See Moto. Br.

 6   21. Motorola itself recognized that a patentee who sues on RAND-committed SEPs has

 7   asserted an objectively baseless claim falling within the sham litigation exception. In its

 8   pending case against SEP holder Innovatio, Motorola Solutions (a defendant here) contended

 9   that Innovatio’s conduct in threatening and suing WiFi providers on standard-essential patents

10   fell under the sham litigation exception to Noerr-Pennington. Motorola Solutions argued that

11   Innovatio’s excessive licensing demands were “objectively baseless because they directly

12   conflict with Innovatio’s RAND commitments.” Ex. 9 (Motorola Solutions Opp. to Innovatio

13   Mot. to Dismiss) at 15. Motorola should not be heard to urge the opposite result here.

14            The timing of Motorola’s suits further suggests they were objectively baseless because

15   they were not “reasonably calculated to elicit a favorable outcome,” Prof’l Real Estate

16   Investors, Inc. v. Columbia Pictures Industries, Inc., 508 U.S. 49, 50, 60 (1993), because this

17   action, seeking to enforce Motorola’s RAND licensing commitment, had already been filed.

18   At most, Motorola could recover an apportioned RAND royalty as damages for the patents it

19   asserted in those actions. Motorola’s only hope for a “favorable” outcome for those suits

20   would be that they proceeded faster than Microsoft’s action here, so that Motorola could use

21   the leverage of injunctions to hold up Microsoft. That type of use of “governmental process—

22   as opposed to the outcome of that process” is not protected by Noerr-Pennington. Prof’l Real

23   Estate Investors, 508 U.S. at 60–61. 5

24
       5
         Abuse of process is not only unprotected by Noerr-Pennington, but gives rise to independent liability: “One
25   who uses a legal process. . . against another to accomplish a purpose for which it is not designed is liable to the
     other for the pecuniary loss caused thereby,” even if “there was probable cause for issuance of the process” and
26   regardless of how the process terminates. Fite v. Lee, 521 P.2d 964, 968 (Wash. App. 1974), quoting Restatement

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 1           Finally, Motorola’s Noerr-Pennington argument independently fails because it

 2   conflates causation (a damages issue) with liability. Multiple instances of Motorola’s conduct,

 3   including the October 2010 letters as well as its later filing of infringement suits on its SEPs,

 4   breached Motorola’s RAND licensing commitments. Even if Motorola were immune from

 5   liability for filing those suits (and it is not), that would not mean that the expenses Microsoft

 6   incurred defending those actions, or Microsoft’s relocation costs in Germany, cannot be

 7   recovered as consequential damages for Motorola’s other breaching conduct. Microsoft has

 8   always been entitled to a license on RAND terms from Motorola, but Motorola has refused to

 9   provide one. Had such a license been in place, it would have put Motorola’s SEP suits to an

10   immediate end, and Microsoft would not have incurred further damages. Authority Motorola

11   cites elsewhere in its brief confirms that where breaching conduct exposes a plaintiff to other

12   litigation, the fees and costs incurred in that litigation can be recovered as damages—and there

13   is no suggestion that the Noerr-Pennington doctrine counsels otherwise. See Moto. Br. 23.

14   III.    MOTOROLA’S MOTION FOR PARTIAL SUMMARY JUDGMENT ON
             DAMAGES SHOULD BE DENIED.
15
             Microsoft is entitled to recover damages for Motorola’s breaches of contract, which
16
     include any “loss, including incidental or consequential loss, caused by the breach.”
17
     Restatement (Second) of Contracts § 347 (1981); see also Eastlake Const. Co., Inc. v. Hess,
18
     686 P.2d 465, 470 (Wash. 1984) (“[T]he injured party is entitled (1) to recovery of all damages
19
     that accrue naturally from the breach, and (2) to be put into as good a pecuniary position as he
20
     would have had if the contract had been performed.”). Microsoft’s recoverable consequential
21
     damages include injuries Motorola “had reason to foresee as a probable result of [its] breach
22
     when the contract was made.” Dally v. Isaacson, 245 P.2d 200, 203 (Wash. 1952). Such
23
     injuries include the fees Microsoft incurred in defending against Motorola’s attempts to
24

25   of Torts § 682. Damages for such misuse of civil process include “reasonable attorney fees and other expenses
     incurred in defending” against it. 2 Dan B. Dobbs, Torts § 440, at 1242 (2001).
26
     MICROSOFT’S OPPOSITION TO DEFENDANTS’                                                        LAW OFFICES
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 1   enforce its SEPs and obtain injunctions. Motorola’s arguments to the contrary (see Moto. Br.

 2   21–24) should be rejected, and its request for summary judgment on this issue denied.

 3          A. Attorneys’ Fees Can Be Awarded as Consequential Damages.
 4          Motorola argues it should be immunized from damages claims because it harmed
 5   Microsoft by filing lawsuits, and it should be free to impose such harms without facing any
 6   consequences. Motorola errs in relying on the “American rule” (see Moto. Br. 22), under
 7   which attorneys’ fees incurred in an action are generally not awarded as costs or damages to a
 8   prevailing party in that same action in the absence of a contract, statute or equitable exception.
 9   See City of Seattle v. McCready, 931 P.2d 156, 160 (Wash. 1997). The American rule and its
10   exceptions are largely irrelevant to this case, because the bulk of the attorneys’ fees sought are
11   not fees incurred in this action, but in defense of Motorola’s lawsuits and pursuit of injunctions
12   in the ITC, Germany, and in the district court patent actions. Microsoft’s fees incurred in
13   defending those actions are simply consequential damages, foreseeable and flowing directly
14   from Motorola’s breach of its RAND licensing obligations. Had Motorola offered and granted
15   the RAND license it was obligated to provide, the lawsuits would have evaporated.
16          Awards of attorneys’ fees as damages “are based on a determination [that] a wrongful
17   act may leave another party with no choice but to litigate.” McCready, 931 P.2d at 162
18   (citation omitted). Cases involving breaches of the duty of good faith and fair dealing are
19   appropriate for the award of attorneys’ fees as damages. For example, in Riveredge Associates
20   v. Metro. Life Ins. Co., 774 F. Supp. 897 (D.N.J. 1991), the plaintiff alleged a breach of the
21   duty of good faith and fair dealing, and the court held that “attorneys fees are a proper element
22   of damages when the right violated is the right to be free from suit,” analogizing to “contract
23   actions in which a covenant not to sue has been agreed to,” but noting that “[a]n implied right
24   to be free from suit therefore stands on the same legal footing as a similar express right
25   contained in a covenant not to sue.” 744 F. Supp. at 901–02. See also Cohn v. Taco Bell
26
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 1   Corp., No. 92 C 5852, 1995 WL 247996, *9 (N.D. Ill. April 24, 1995) (California law) (the

 2   duty of good faith and fair dealing described in Restatement § 205 “may entitle Defendant to

 3   attorneys’ fees and costs expended in defending [a claim] assuming Defendant can prove that

 4   Plaintiffs brought [it] even though they knew the relief they sought was contrary to the terms of

 5   the franchise agreements.”).

 6            The American rule is a default fee-shifting rule, not a license to file lawsuits in

 7   violation of contractual obligations. Motorola’s motion directed to Microsoft’s claim for

 8   attorneys’ fees and litigation costs can be denied on this basis alone. 6

 9            B. Even If The American Rule Controlled, Its Equitable Exceptions Support
                 Microsoft’s Claim For Damages.
10
              Washington law recognizes that in spite of the default American rule, even fees in the
11
     same action can be awarded as damages when fees are incurred as a direct consequence of the
12
     defendant’s wrongful conduct. First, Washington recognizes an equitable exception providing
13
     for an award of fees incurred in successfully dissolving a wrongfully issued injunction. See
14
     Ino Ino, Inc. v. City of Bellevue, 937 P.2d 154, 176 (Wash. 1997) (explaining that the purpose
15
     of this exception is to deter “seeking relief prior to a trial on the merits”). That purpose applies
16
     equally here, where Motorola sought the leverage of an injunction in Germany, prior to a trial
17
     on the merits here that would determine a RAND royalty. Accordingly, Microsoft’s fees in
18
     defending the German action (as well as its fees in this case for obtaining the anti-suit
19
     injunction) are appropriate consequential damages flowing from Motorola’s conduct: “[A]
20
     reasonable attorney’s fee reasonably incurred in procuring the dissolution of an injunction
21
     wrongfully issued represents damages suffered from the injunction.” Cecil v. Dominy, 418
22

23     6
         Holding Motorola responsible for the harms it intentionally imposed would hardly “vitiate the American rule,”
     Moto. Br. 24, and the case Motorola quotes from does not suggest otherwise—the Seventh Circuit simply noted
24   that where a prevailing breach of contract plaintiff claimed attorneys’ fees were “part of his contract damages” but
     “never attempt[ed] to reconcile that position with Massachusetts law” (which, as elsewhere, does not generally
25   award prevailing breach of contract plaintiffs attorneys’ fees, with certain exceptions), he could not be awarded
     fees as damages. Dr. Franklin Perkins Sch. v. Freeman, 741 F.2d 1503, 1520 (7th Cir. 1984).
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 1   P.2d 233, 234 (Wash. 1966). Motorola’s objection that it was pursuing an injunction against

 2   Microsoft in Germany, not in this action, Moto. Br. 23–24, is a non sequitur. Clearly, if

 3   Motorola had sought a preliminary injunction in the consolidated 343 patent case, and

 4   Microsoft prevailed on an affirmative defense and counterclaim that Motorola’s entire course

 5   of conduct breached its RAND commitments, this equitable exception would allow Microsoft

 6   to recover its fees in the 343 patent case. That Motorola instead sought an end-run around this

 7   Court by pursuing the injunction in a different forum is immaterial—Microsoft still incurred

 8   damages both here and in Germany resisting an injunction Motorola had no right to seek and

 9   enforce given its RAND licensing commitments. 7

10            It is also irrelevant that Microsoft obtained an anti-suit injunction here, rather than

11   attempting to dissolve Motorola’s injunction in Germany. See Moto. Br. 24. Contrary to

12   Motorola’s suggestion, a defendant can recover fees under this exception for resisting the

13   wrongful enforcement of an already-issued injunction in a later, separate action. See All Star

14   Gas, Inc. v. Bechard, 998 P.2d 367, 371 (Wash. App. 2000) (where a party “attack[ed] the

15   merits of [an earlier-issued] injunction as it applied to him” in a separate, later action, he was

16   “entitled to his attorney fees associated with defending himself on this claim”). Under All Star

17   Gas, the award of fees depended on defeating application of the injunction (as Microsoft did

18   here), not on dissolving it or showing that it was wrongfully issued. Id.

19            Second, courts routinely award attorneys’ fees for defending a lawsuit initiated in

20   violation of a covenant not to sue. See, e.g., Anchor Motor Freight, Inc. v. Int’t Broth. of

21   Teamsters, Local Union No. 377, 700 F.2d 1067, 1072 (6th Cir. 1983) (reversing and

22   remanding for awarding attorney fees “used as a measure of the actual damages . . . incurred in

23   defending against the lawsuit . . . instituted purportedly in violation of a covenant not to sue”);

24     7
         The “sole purpose” language Motorola cites in its brief (see Moto. Br. 24) is also misleading: “If dissolving
     the injunction is not the sole purpose of the trial, then attorney fees are available only for services performed in
25   dissolving the temporary injunction.” McCready, 931 P.2d at 162. The only fees Microsoft seeks to recover fees
     from this case are those associated with preventing Motorola from enforcing its German injunction.
26
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 1   Divine Tower Int’l Corp. v. Kegler, Brown, Hill & Ritter Co., L.P.A., Nos. 2:04-CV-494, -584,

 2   2008 WL 4405037, *3 (S.D. Ohio Sept. 24, 2008) (“[W]here there is a breach of a covenant

 3   not to sue, an available remedy is actual damages, which are measured by the attorney fees and

 4   costs incurred in defending the lawsuit.”) (citations omitted); Gregoire v. Lucent, No. 6:03 CV

 5   251 ORL 31 KRS, 2005 WL 1863429, *4 (M.D. Fla. Aug. 5, 2005) (denial of summary

 6   judgment seeking dismissal of claim for fees for breach of covenant not to sue); Kelleigh v.

 7   Algonquin Gas Transmission Co., No. 946458, 1996 WL 1186836, *7 (Mass. Super. Nov. 6,

 8   1996) (allowing claim “for actual damages (legal fees and costs associated with defending

 9   [the] lawsuit)” caused by “breach of the covenants not to sue”), citing Anchor Motor Freight;

10   Widener v. Arco, 717 F. Supp. 1211, 1217 (N.D. Tex. 1989) (in breach of release case, holding

11   that “Defendants’ damages for Plaintiffs’ breach of contract is the amount of costs and

12   attorneys’ fees expended by Defendant in defending this lawsuit”). Because Microsoft alleges

13   that Motorola breached its contractual commitments by filing its ITC, district court, and

14   German patent infringement actions, this recognized equitable exception for breaches of

15   covenants not to sue fully supports Microsoft recovering its fees and costs as damages.

16            Third, procedural bad faith provides an additional ground for an award of fees under

17   Washington law, including “vexatious conduct during litigation” that “is unrelated to the

18   merits of the case.” Forbes v. Am. Bldg. Maint. Co. W., 198 P.3d 1042, 1057 (Wash. App.

19   2009). See also Rogerson Hiller Corp. v. Port of Port Angeles, 982 P.2d 131, 135 (Wash.

20   App. 1999) (the purpose of awarding such fees is “to protect the efficient and orderly

21   administration of the legal process”). The vexatious purpose of Motorola’s German suits—

22   intended as an end-run around this Court’s jurisdiction that would avoid a RAND

23   determination here (see Dkt. No. 318, May 14, 2012 Preliminary Injunction Order at 18–19)—

24   also supports Microsoft’s recovery of attorneys’ fees as damages. 8

25     8
          Motorola’s brief also discusses the “equitable indemnity” rule, Moto. Br. 23, which “allow[s] expenses of
26   litigation to be recovered as consequential damages” where a defendant’s breach of contract exposes the plaintiff

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     IV.      THE COURT HAS ALREADY HELD THAT MOTOROLA’S TREATMENT OF
 1            MARVELL AND ITS FAILURE TO GRANT BACK A LICENSE UNDER THE
 2            MPEG LA AGREEMENT WILL BE PART OF THE TRIAL.
              Motorola has already attempted once to preclude Microsoft from introducing evidence
 3
     related to Motorola’s treatment of Marvell and its failure to grant back a license to Microsoft
 4
     pursuant to the Google-MPEG LA agreement. (See Dkt. No. 682.) At a telephonic hearing on
 5
     May 7, 2013, Microsoft explained that neither instance of conduct was the basis of a separate
 6
     damages claim, but rather part of the entire course of conduct relevant to Microsoft’s breach
 7
     theories. See Ex. 10, May 7 Hearing Tr. 10:18–25, 12:3–11. Accordingly, the Court ruled that
 8
     both the Marvell and MPEG LA arguments would be permitted at trial:
 9
              I am going to permit that as an argument in support of the identical damages
10            that would have been presented anyway. It seems to me that both of those
              subjects were brought up and discussed as part of the underlying trial on RAND
11
              rates, and therefore the parties should not need to do any additional discovery.
12            And since you're not asking for any additional damages, I’m not sure that there
              is any prejudice in this matter.
13
     Ex. 9, May 7 Hearing Tr. 12:14–21. As the evidence at the RAND royalty trial showed,
14
     Microsoft had a right to a RAND license to Motorola’s 802.11 patents, and when it could not
15
     get one on RAND terms directly from Motorola, Microsoft sought to do so indirectly through
16
     Marvell. Ex. 11, Ochs Testimony 64–65. Marvell made that request of Motorola in July 2011,
17
     and was rebuffed with an intentionally discriminatory and blatantly unreasonable offer that
18
     November. Id. at 66–68. Marvell’s request of Motorola for a license on RAND terms was not
19
     an unrelated event, disconnected from Microsoft’s efforts to obtain a license on RAND terms:
20
     Marvell’s overture to Motorola was made at Microsoft’s request and for Microsoft’s benefit.
21

22   to litigation with a third party. Manning v. Loidhamer, 538 P.2d 136, 139 (Wash. 1975). See Jacob’s Meadow
     Owners Ass’n v. Plateau 44 II, LLC, 162 P.3d 1153, 1162 (Wash. 2007) (“When the natural and proximate
23   consequences of a wrongful act by defendant involve plaintiff in litigation with others, there may, as a general
     rule, be a recovery of damages for the reasonable expenses incurred in the litigation, including compensation for
     attorneys’ fees.”). “Equitable indemnity” is not actually an “exception” to the American rule, because it involves
24   recovery in one action of fees incurred in some other action. In any event, Motorola’s breaches did not merely
     “expose” Microsoft to litigation, such that it would be equitable to require Motorola to indemnify Microsoft—
25   Motorola improperly sued Microsoft while denying the license on RAND terms it was obligated to provide.
     Motorola’s conduct has gone far beyond the circumstances contemplated in the “equitable indemnity” cases.
26
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 1   Motorola’s refusal to extend a RAND license to Marvell blocked the remaining avenue open to

 2   Microsoft to protect its standard-compliant products from Motorola’s course of hold up.

 3          Further, any Motorola conduct forming part of its efforts to hold up Microsoft as to

 4   either standard constitutes a breach of the duty of good faith and fair dealing, because that

 5   conduct frustrates the purposes of the RAND commitment. Motorola’s October 2010 letters,

 6   demanding royalties on terms Microsoft could never accept, were shams intended to tee up

 7   lawsuits as part of that hold up process, as were Motorola’s district court, ITC, and German

 8   lawsuit seeking injunctions against Microsoft’s products. (See Dkt. No. 729 at 19–21.) Any

 9   other Motorola conduct intended to maintain that improper hold up leverage also constitutes a

10   breach of the duty of good faith and fair dealing, including Motorola’s treatment of Marvell,

11   and its refusal to recognize the grant-back obligations under the Google-MPEG LA license.

12          Specifically, Motorola’s conduct in extending blatantly discriminatory and

13   unreasonable terms to Marvell breached Motorola’s duty of good faith and fair dealing,

14   because by refusing Marvell a RAND license, Motorola preserved its ability to hold up

15   Microsoft with 802.11 SEPs, in frustration of the purposes of the RAND licensing

16   commitment. Likewise, Motorola’s refusal to acknowledge the grant back obligations

17   stemming from its acquisition by Google and the Google-MPEG LA licenses preserved

18   Motorola’s efforts to hold up Microsoft with H.264 standard-essential patents, and evade its

19   obligations to the ITU. In both instances, Motorola’s conduct was part of its hold up strategy

20   constituting a repeated and ongoing breach of its duty of good faith and fair dealing as to

21   Microsoft. Motorola denied Microsoft every opportunity to obtain a license on RAND terms,

22   holding out hope that it would be able to obtain the injunctive leverage it sought. The Court

23   has already ruled that both Marvell and MPEG LA can be part of Microsoft’s breach case, and

24   Motorola’s renewed attempt to carve these issues out of the trial should be rejected.

25

26
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 1              Motorola’s proximate causation arguments (see Moto. Br. 14, 18) related to the timing

 2   of its Marvell and MPEG LA conduct are also irrelevant in light of the Court’s ruling, but they

 3   independently lack merit. Given that Microsoft’s attorney-fee damages are based on dated

 4   invoices associated with particular work done by its attorneys opposing Motorola’s

 5   enforcement of its 802.11 and H.264 patents, Microsoft has evidence showing fees incurred

 6   after the relevant dates. Specifically, if Motorola had offered Marvell RAND terms for a

 7   license that would cover Marvell’s customers in June 2011,Motorola’s 802.11 claims against

 8   Microsoft would have been exhausted, and fees associated with defending those claims dated

 9   after that point would not have been incurred. 9 Similarly, if Motorola (and its parent Google)

10   had honored the grant back obligations under the Google-MPEG LA agreement beginning in

11   May 2012, Microsoft would have been licensed at that point, and fees associated with

12   defending Motorola’s H.264 claims after that date would not have been incurred. 10

13              Motorola’s remaining complaints about these theories provide no additional basis for

14   any summary judgment ruling. Contrary to Motorola’s claim, see Moto. Br. 15, there is

15   substantial evidence that Motorola breached a duty to Marvell—in response to Marvell’s

16   request for a license on RAND terms that would protect Marvell’s downstream customers,

17   Motorola made a licensing demand that was not only wildly unreasonable in light of the

18   Court’s RAND determination (compare Ex. 11, Ochs Testimony 67–68 with FFCL ¶ 621), but

19   Motorola explicitly discriminated against Marvell by excluding two of Marvell’s largest

20   customers. Ex. 11, Ochs Testimony at 67. Motorola’s claim that this discriminatory conduct

21   is excused by an industry practice (see Moto. Br. 15) presents a fact issue, at a minimum—

22   especially where Motorola identifies no clause of its RAND commitments or the SSO policies

23   that endorse an SEP holder denying an implementer a RAND license because that

24
       9
           Motorola asserted 802.11 patents in the ITC until October 24, 2012. See Ex. 12, Mot. to Terminate.
25     10
         Nearly all of the fees incurred in the Ninth Circuit appeal (relevant to the continued assertion of Motorola’s
     H.264 patents in Germany) came after the Google acquisition.
26
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 1   implementer’s customers have disputes with the SEP holder. To the contrary, Motorola’s

 2   RAND licensing commitments require that it grant RAND licenses to anyone and everyone.

 3            Finally, Motorola makes the unsupported claim that “[n]othing in the factual record

 4   establishes that Motorola is a covered Affiliate under the MPEG LA agreement,” in support of

 5   an argument that Google has no grant back obligations as to Motorola’s patents. Moto. Br. 16.

 6   That legal question has been fully briefed (see Dkt. Nos. 614, 615, 640, 642, 657, 658), and

 7   can be decided by the Court before the trial, unless the Court finds that fact issues relevant to

 8   interpretation remain to be addressed by the jury. Google’s August 2012 license offer, made

 9   months after the grant back obligation arose, see Moto. Br. 16–17, cannot excuse Motorola’s

10   earlier refusal to honor its licensing obligations. 11 Motorola concedes the existence of factual

11   disputes regarding the adequacy of Google’s offer, see Moto. Br. 17 (“That the parties did not

12   enter into a license . . . does not mean that Motorola breached its obligations to the ITU”), and

13   indeed the offer was inadequate at least because Google insisted on a right to pursue past

14   damages for Microsoft’s alleged use of the H.264 patents prior to the Google acquisition at

15   rates higher than permitted under the Google-MPEG LA agreement. See Dkt. No. 617 Ex. C at

16   2; Trial Ex. 103 (Google-MPEG LA Agreement) at § 6.3.

17                                                   CONCLUSION

18            For the foregoing reasons, Motorola’s motion should be denied in its entirety.

19            DATED this 12th day of July, 2013.

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23                                                           By       s/Christopher Wion
                                                                      Christopher Wion, WSBA #33207
24
       11
          It is unclear why Motorola believes it appropriate to cite Google’s offer letter as evidence, given that the
25   letter states: “Neither party shall use this offer for any purpose in any litigation, case or administrative
     proceeding.” (Dkt. No. 617 Ex. C at 2.)
26
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                                    CERTIFICATE OF SERVICE
 1
            I, Florine Fujita, swear under penalty of perjury under the laws of the State of
 2
     Washington to the following:
 3
            1.     I am over the age of 21 and not a party to this action.
 4
            2.     On the 12th day of July, 2013, I caused the preceding document to be served on
 5
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